    Case 1:01-cv-12257-PBS Document 1334-3 Filed 02/08/05 Page 1 of 1



                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS


In Re: PHARMACY INDUSTRY         )
AVERAGE WHOLESALE PRICE          )MDL NO. 1456
LITIGATION                       )
                                 )C.A. No. 01-12257-PBS
THIS DOCUMENT RELATES TO:        )
                                 )Judge Patti B. Saris
ALL ACTIONS                      )
                                 )

      MOTION FOR ADMISSION OF ROBERT S. LIBMAN PRO HAC VICE

     The undersigned hereby moves this Court pursuant to L.R.

83.5.3(b) to admit Robert S. Libman, Esq., of the law firm of

Miner, Barnhill & Galland, P.C., 14 W. Eric Street, Chicago, IL

60610, to practice in the above case.       As set forth in the

attached Affidavit, Mr. Libman: (1) is a member of the bar in

good standing in every jurisdiction where he has been admitted to

practice; (2)there are no disciplinary proceedings pending

against him as a member of the bar in any jurisdiction; and (3)

he is familiar with the Local Rules of this Court.         The

undersigned has previously filed his notice of appearance in the

above case.

                                 Respectfully Submitted,


                                 /s/ Jonathan Shapiro
                                 Jonathan Shapiro
                                 BBO No. 454220
                                 Stern, Shapiro, Weissberg
                                  & Garin, LLP
                                 90 Canal Street, Suite 500
                                 Boston, MA 02114-2022
                                 (617) 742-5800

Dated: February 8, 2005
